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Michael J Brosnahan -2»~/ ":::"`”"~“ m

21 Hummingbird Circle

Sedona, Arizona 88336

  

 

 

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NOTICE OF LIS PENDENS
UNITED STATES DISTRICT COURT DISTRICT ()F ARIZONA - PRESC()TT

DIVISION

MICHAEL J BROSNAHAN

Consumer Claimant PLA]NTIFF Case number:

VS

"Debt Collector"

CALIBER HOME LOANS lnc.'and.its agents, .LSF9 MASTER PARTIC]PATION TRUST and
SUMMIT SERVICE AND REALTY LLC

AND/OR Real Party(s) In Interest:

Defendant
Pursuant to A. R. S. § l2- llQl, Notice Is Hereby Given: That an action has been instituted and is now

pending in the UNITED STATES DISTRICT COURT DISTRICT OF ARIZONA- PRESCOTT
DIVISION upon the complaint of MICHAEL J BROSNAHAN, Plaintiff, against the above named
Defendant
Plaintiff has reason to believe that the Defendant may have some interest in the property Which may be
subject to judgment and execution by reason of the within cause, and that such property is located at 21
Hummingbird Circle Sedona, Arizona and more particularly described as the object of that action is
Plaintiffs unique real property, described as folloWs: LOT 33 OF CHAPEL BELL ESTATE UNIT 4,
ACCORDING TO CASE 2 MAPS, PAGE 324, RECGRDS OF COCONINO COUNTY, ARIZONA,
APN NO 401-54046, MIN lOOl337~0()Ol4l 1265-3 Deed of Trust Record # 33 86l86 and recorded
5/3 l/O6, involving the unique real property specifically addressed and identified as 21 Hummingbird
Circle, Sedona, Arizona [86336]
The nature and object of the actions is'. Enforcement of Fair Debt Collection Practices Act 15 U.S.C. §
1692 and Federal Question 28 U.S.C. § 1331 and Application for an Emergency Temporary
Restraining Order and Imposition of Permanent Injunction The relief sought by Plaintiff in the
action is: Plaintiff declaratory and injunctive relief, consistent With the findings of the aforesaid,
including, but not limited to, enjoining the above named Defendants, as well as ANY PARTY, yet
unnamed Defendant(s), from Selling, Converting, or, by any means whatsoever, Dispossessing
Plaintiff of Property.
Notice: As fully disclosed, ANY PERS()NS lN ANY MANNER dealing With the above described
real estate subsequent to the filing of this action will be subject to the rights of the Plaintiff as
established in this action.
Notice To Agent Is Notice To Principal And Notice To Principal Is Notice To Agent.
DATED: This 22 Day of November, 2016.
Respectfully presented by:
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Mlchael J Brosnahan, Plaintlff
Signed reserving all my rights Without prejudice

 

 

